Case 1:07-cv-00319-PLM          ECF No. 75, PageID.1052           Filed 09/09/11     Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

CMC TELECOM, INC., et al.           )
           Plaintiffs,              )
                                    )                No. 1:07-cv-319
-v-                                 )
                                    )                HONORABLE PAUL L. MALONEY
MICHIGAN BELL TELEPHONE COMPANY,    )
et al.,                             )
            Defendants.             )
____________________________________)

        ORDER REMANDING TO MICHIGAN PUBLIC SERVICE COMMISSION

        As stipulated by the parties, the portion of Count One that challenged the Michigan Public

Service Commission’s decision in Case No. U-14975 is REMANDED to the Michigan Public

Service Commission for entry of an order consistent with the Sixth Circuit Court of Appeals Opinion

and Judgment in CMC Telecom, Inc. v. Michigan Bell Tel. Co., 637 F.3d 626 (6th Cir. 2011).



Date:   September 9, 2011                                   /s/ Paul L. Maloney
                                                            Paul L. Maloney
                                                            Chief United States District Judge
